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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

FLORIDA DECIDES
HEALTHCARE, INC., et al.,

Plaintiffs,

 v.
                                             Case No.: 4:25cv211-MW/MAF
CORD BYRD, in his official capacity as
Secretary of the State of Florida, et al.,

Defendants.



                  NOTICE OF SUPPLEMENTAL AUTHORITY

        Under N.D. Fla. Loc. R. 7.1(J), FDH Plaintiffs refer the Court to Free Speech

Coalition, Inc. v. Paxton, No. 23-1122, 2025 WL 1773625 (U.S. June 27, 2025).

Paxton addressed whether a Texas law that restricted minors’ access to pornographic

material—something that receives no First Amendment protection—was unconsti-

tutional because it also incidentally burdened adults’ access to the same material—

something that does receive First Amendment protection. Id. at *3.

        The district court applied strict scrutiny, while the Fifth Circuit applied ra-

tional-basis review. Id. at *4–5. Both, Paxton said, were wrong: Because the law

imposed “only an incidental effect on protected speech,” intermediate scrutiny ap-

plied. Id. at *8; id. at *11 (explaining that any burdens the law imposed on First
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Amendment rights were “incidental to the statute’s regulation of activity that is not

protected by the First Amendment”).

      Per Paxton, “[i]ntermediate scrutiny, which is deferential but not toothless,

plays an important role in ensuring that legislatures do not use ostensibly legitimate

purposes to disguise efforts to suppress fundamental rights.” Id. at *16. That’s be-

cause “intermediate scrutiny can weed out” “manipulation of a legitimate kind of

regulation” in a way “rational-basis review cannot.” Id.

      Here, the State frames the moratorium (which pauses verification activities

for 90 days) as a legitimate regulation, notwithstanding suppressing speech and as-

sociation. Of course, as Plaintiffs have explained, this Court should apply exacting

scrutiny to HB 1205’s moratorium provision under Biddulph. ECF No. 169-1 at 26–

33; ECF No. 261 at 10–14. But even if the Court disagreed with that proposition, the

moratorium—by “manipulation of a legitimate kind of regulation”—places an indi-

rect burden on speech and association. Paxton, 2025 WL 1773625, at *16. It would

thus be subject to, and fails, intermediate scrutiny for all the reasons Plaintiffs have

already set out. ECF No. 169-1 at 26–33; ECF No. 261 at 10–14.




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Dated: June 29, 2025              Respectfully submitted,

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                    LOCAL RULE 7.1(F) CERTIFICATION

      Undersigned counsel, Frederick Wermuth, certifies that this notice contains

315 words, excluding the case style, signature block and certifications.

                           CERTIFICATE OF SERVICE

      I hereby certify that on June 29, 2025, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will then send a notifi-

cation of such filing to the counsel of record in this case.

                                               s/ Frederick S. Wermuth
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